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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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LECNIDES DUVERNY, :
Plaintiff, : 18Bcv7652 (DLC)
-V¥R- : ORDER
HERCULES MEDICAL P.C., and HYPWETON
MEDICAL P.C., and ACHILLES MEDICAL
P.Cc., and GEOFFREY RICHSTONE,
individually,
Defendants.
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DENISE COTE, District Judge:

A jury trial in this matter is scheduled to begin on
November 9, 2020 at 9:30 a.m. On November 5, plaintiff
submitted a letter identifying two issues regarding witnesses
who will appear at trial. It is hereby

ORDERED that a telephonic conference shall occur on
November 6 at 11:00 am. The parties shall use the following
dial-in instructions for the telephone conference:

Dial-in: 888-363-4749

Access code: 4324948

IT IS FURTHER ORDERED that the parties shall use a landline

 
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if one is available.
SO ORDERED:

Dated: New York, New York
November 6, 2020

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